        CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 1 of 29




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Civ. No. 13-3003 (WMW/DTS)

 United States of America,
 ex rel. Kipp Fesenmaier,

                      Plaintiffs,
                                                    MEMORANDUM IN SUPPORT
               v.                                        OF PLAINTIFFS’
                                                       MOTION TO COMPEL
 The Cameron-Ehlen Group, Inc.,                     REGARDING SEARCH TERMS
 Dba Precision Lens, and
 Paul Ehlen

                      Defendants.


   I.      INTRODUCTION.

        Plaintiffs the United States of America and Relator Kipp Fesenmaier move this

Court for an order compelling Defendants to run certain additional search terms and

produce documents in response to Plaintiffs’ Requests for Production. Specifically,

Plaintiffs seek a discrete modification of the Court’s February 13, 2019 Order (Dkt. 179)

to run the additional searches (See Declaration of Chad Blumenfield (hereinafter

“Blumenfield Decl.”), Ex. A.).

        The parties have discussed these issues with the Court informally, but we have not

had the opportunity to engage in formal briefing. Plaintiffs believe that when considered

against the backdrop of the relevant caselaw, it is appropriate to grant additional search

terms beyond what has been provided thus far. Regrettably, Defendants’ approach to

discovery in this process has been quite different from the “cooperative and informed

process” required by the courts when crafting search terms. William A. Gross Const.
         CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 2 of 29




Associates, Inc. v. Am. Mfrs. Mut. Ins. Co., 256 F.R.D. 134, 136 (S.D.N.Y. 2009). Plaintiffs

have attempted to obtain additional documents from Defendants by agreement, but

Defendants have been consistently unwilling to negotiate around these issues and have

adopted a narrow interpretation of the Court’s order and their obligations to cooperate with

Plaintiffs as the Federal Rules require.

         The Court’s prior Order directed e-discovery by grouping disputed search terms into

three categories: Category 1 for terms that would be run without modification; Category 2

for terms that would be run with modification; and Category 3 for terms that would not be

searched at this time. Dkt. 179. The Court issued this Order “without prejudice to further

requests by the United States or Relator for additional e-discovery.” Id. at 3. Further, the

Court contemplated that in response to the Order: “Defendant can either (1) review and

produce the documents identified; (2) negotiate a resolution with the United States

regarding review and production or (3) raise the issue at the next scheduled status

conference.” Id. at 2.

         Based on Defendants’ refusal to further confer regarding any search terms beyond

the Court’s February 2019 Order, Plaintiffs bring this motion seeking a discrete

modification in the Court’s Order as reflected in Blumenfield Decl., Ex. A.        In order to

provide appropriate justification for modification of the Court’s Order as addressed in

Blumenfield Decl., Ex. A, Plaintiffs respectfully submit the below memorandum.

   II.      BACKGROUND.

         Plaintiffs briefly describe the history of document production in this matter, both in

response to the Civil Investigative Demand (“CID”) during the investigative phase of this

                                               2
       CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 3 of 29




matter and to formal Requests for Production (“RPDs”) during the current discovery

period. This history is relevant because much of the Defendants’ discussions with the Court

has conflated the investigation with formal party discovery and intimated that requests for

additional search terms are a “second bite at the apple” after meet and confer has

completed. To be clear: there has never been an iterative back and forth over search terms

during discovery in this matter. Rather, each production has been the result of either

production based on unilaterally-set terms or, as is the case of production after the Court’s

e-discovery order, a refusal to have meaningful discussion over the actual results of search

term hits.

       Before intervening in this lawsuit, the United States conducted an investigation to

determine if Precision Lens and Paul Ehlen, among others, violated the False Claims Act

(“FCA”). The purpose of the United States’ investigation was not to gather evidence

sufficient to prevail at trial against all qui tam defendants; rather, the purpose was to

determine whether the government should intervene in the civil case. During the

investigation, the U.S. Attorney’s Office for the District of Minnesota served a subpoena

on Precision Lens for documents in various categories, including emails and other

electronic materials. The United States worked with Precision Lens to mitigate the burden

of its requests, engaging in much back and forth to arrive at a production volume that was

mutually acceptable. These discussions were not driven to set search terms for the purpose

of discovery or preparing the matter for trial. Id.

       On August 14, 2017, the United States intervened in the FCA case against

Defendants and filed its Complaint in Intervention on February 8, 2018. (Dkt. Nos. 63,

                                              3
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 4 of 29




105.) Now that this case has proceeded to discovery, Plaintiffs are gathering the

comprehensive evidence needed for trial. To that end, on October 26, 2018, Plaintiffs

served Defendants with Requests for Production under Rule 34. (Blumenfield Decl., Ex.

B.) As with the investigative phase, Plaintiffs have expressed a broad willingness to

mitigate the burden of production on Defendants associated with search term requests in

discovery.

       During the parties’ ESI meet and confer calls (ongoing since October 17, 2018),

Defendants initially indicated that they would not agree to perform searches of additional

terms or custodians beyond those conducted during the investigation, nor would they agree

to update the original production for materials obtained or created since 2015. During a

meet and confer on Friday, November 30, 2018, Defendants agreed to run additional search

terms against the documents collected during the investigation and to consider additional

custodians. The parties agreed that Plaintiffs would propose additional search terms and

custodians to be added to a list provided by Defendants on Wednesday, November 28.

       Plaintiffs engaged in a careful review of those materials and, on December 12, 2018,

proposed that Defendants run a set of terms, comprised of the terms that the parties had

agreed to during the investigation plus an additional set of terms. (Blumenfield Decl., Ex.

C, December 12, 2018 Letter.) Plaintiffs also proposed six new custodians in addition to

the original five. (Id.) With regard to the custodians whose accounts had previously been

searched, Plaintiffs’ proposal contemplated that only the new terms would be run. Plaintiffs

indicated:



                                             4
        CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 5 of 29




              We anticipate that you will want to discuss potential limitations
              on these terms after looking at the hit count results generated
              by these proposals, and we are certainly open to that. We also
              are willing to prioritize certain terms over others in order to
              expedite the production. In the event you are interested in
              doing so, please provide a hit count broken down by term and
              custodian.

(Id.)

        Defendants did not provide Plaintiffs with the hit results regarding Plaintiffs’

proposed terms. Rather, on January 8, 2019, Defendants provided a list of the results for

its own terms only, which consisted of a narrowed list of search terms modified by specific

doctor names. (Blumenfield Decl., Ex. D.) At this time, the Assistant United States

Attorneys (“AUSAs”) working on the case in Minnesota were unable to meaningfully work

on this matter because of the 35-day federal government shutdown, which started on

December 22, 2018. Nevertheless, Relator’s counsel contacted Defendants immediately,

asking for the requested report. (Blumenfield Decl., Ex. E, January 9, 2019 email chain

among counsel.) After additional back and forth, Precision Lens then provided the list

broken down by custodian on January 14. (Blumenfield Decl., Ex. F).

        On a separate call later that same day, Defendants advised Relator’s counsel that

they had decided to modify all of the terms to only capture results that also included the

last names of the doctors involved. Relator’s counsel responded the next day:

              Due to the furlough, Government counsel are unable to
              participate in meet and confer over search terms, and we have
              not reached an agreement on proposed search terms.
              Defendant Precision Lens has proposed a narrower group of
              terms than those proposed by Plaintiffs and has advised that
              they will proceed to review the results of those narrowed
              searches for production. On the call yesterday, we discussed

                                             5
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 6 of 29




              that Plaintiffs have not agreed to the narrowed terms.
              However, we understand that the narrower results proposed by
              Defendants are at least the minimum of what should be
              reviewed for production, and if produced, will be without
              prejudice to the parties’ efforts to meet and confer over
              additional search terms once the furlough is lifted.

(Blumenfield Decl., Ex. G, January 15, 2019 email chain).

       On January 21, Defendants agreed to run additional terms: “fair market value”,

FMV, ROI, “return on investment” and Kickback OR Anti-Kickback. (Id., Blumenfield

Decl., Ex. H.)

       Upon the conclusion of the government shutdown, the parties met and conferred by

way of a conference call on February 5th. Plaintiffs asked Defendants to reconsider their

position and re-run searches based on Plaintiffs’ proposed terms. Plaintiffs further

proposed that the parties perform document sampling for terms with high returns (for

example, over 1,000 hits), whereby the parties would review a subset of the production and

collaborate to create search strings aimed to exclude nonresponsive documents. Defendants

indicated they may consider some additional terms on Plaintiffs’ list and that they would

consider a proposal to sample some of the terms proposed if Plaintiffs identified those

terms specifically. In a good faith attempt to reach a compromise, Plaintiffs submitted a

list of prioritized search terms on February 8, 2019, and recommended a sampling approach

for specific underlined terms that result in more than 1000 hits for a particular custodian.

(Id., Blumenfield Decl., Ex. I.)

       However, at the discovery conference before this Court on February 12, 2019,

Defendants indicated an unwillingness to engage on Plaintiffs’ search term proposal, citing


                                             6
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 7 of 29




undue burden. (See Dkt. No. 178, Minute Entry.) After the hearing, the Court ordered

Defendants to run a number of Plaintiff’s search terms across all custodians, regardless of

whether those results mentioned any doctor names. (See Dkt. No. 179.) The Court also

allowed Defendants to run a number of search terms as proximity searches, e.g., “[search

term] w/25 Dr. or doc* or (last name)].” (Id.) The Order did not address all of Plaintiff’s

proposed search terms, and the Court made clear that its order was “without prejudice to

further requests by the United States or Relator for additional e-discovery.” (Id.)

       On February 19, Defendants provided Plaintiffs with an updated search term report

that illustrated the hits resulting from the terms listed in the Court’s February 13 order.

(Blumenfield Decl., Ex. J). Plaintiffs responded to Defendants that the modified search

terms amounted to a 92% reduction of results compared to Plaintiffs’ original proposal,

and therefore suggested that the parties meet to discuss these results. Plaintiffs pointed out,

among other things, that many of the reductions impacted highly relevant terms (e.g.,

specific types of remuneration) that had reasonable standalone hit counts prior to being

limited by proximity searches:




                                              7
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 8 of 29




Plaintiffs also highlighted certain terms unaddressed by the Court’s order. Id. Based on

these observations, Plaintiffs proposed targeted modifications to the Court-ordered

searches, within the same framework set out by the Court. Consistent with the Order’s

approach, Plaintiffs specified which search terms should not be modified (category 1),

which terms should be modified through proximity searches (category 2), and which terms

Defendants need not be run at this time (category 3).

       Citing burden, Defendants declined to negotiate Plaintiffs’ proposed solution and

refused to conduct additional searches not found in the Court’s order. (Blumenfield Decl.,

Ex. K, Defs.’ March 4 letter).

       To that end, Defendants agreed to perform only one additional search that they did

not previously perform (even though the term appeared in the Order). Specifically, the

Order directs that certain terms be run against the relevant clinic names. Defendants asked

Plaintiffs to provide a list of clinic names for the search. On March 6, Plaintiffs submitted


                                             8
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 9 of 29




a clinic list that reflects the manner in which Defendants referred to the various clinics in

their own documents (e.g., “Regional Eye” or “Hutch” or “Hutchinson” for the Regional

Eye Center in Hutchinson, MN). See, e.g., Blumenfield Decl., Ex. O (PL000157 (Expense

Report referring to “Regional Eye, Hutch”); PL00073804 (referring simply to “Hutch”));

(March 6 electronic correspondence is at Blumenfield Decl., Ex. L). Defendants rejected

Plaintiffs’ list and determined that they would only run searches using a clinic’s official

name (Blumenfield Decl., Ex. M, Defs.’ March 8 email). Plaintiffs asked Defendants to

reconsider, but they declined to do so. Id.

       Plaintiffs have taken numerous steps to facilitate the discovery or relevant materials

and ameliorate Defendants’ alleged burden, but Defendants have been uncooperative at

every turn. In addition to limiting custodians, modifying search terms based on hit counts,

and narrowing search terms based on volume, Plaintiffs suggested a clawback agreement

that would substantially reduce, if not eliminate the need for, Defendants to review

documents. Defendants have also rejected that option.

       In sum, while Defendants have represented that Plaintiffs have continued to seek

additional search terms, the truth is that Defendants have wholesale refused to engage in

cooperative discussions that would yield the responsive documents Plaintiffs are looking

for while mitigating Defendants’ burden.

   III.   DISCUSSION.

       Plaintiffs have negotiated in good faith with Defendants in this matter, but

Defendants have been unwilling to engage with Plaintiffs in a meaningful way. The

Court’s recent order was certainly a step in the right direction, but a comparison of the hit

                                              9
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 10 of 29




counts and a review of the documents produced pursuant to that order indicates that there

were significant material omissions. The Court indicated that its order expressly

permitted the parties to approach the Court for additional relief if they felt the order did

not provide complete relief. Plaintiffs now do so.

       The search terms Plaintiffs now ask to be run are targeted to the specific issues in

the case. To the extent that any particular term generates a large number of hits,

Plaintiffs are willing to meet and confer about that issue, as they have expressed

countless times throughout this process. But Defendants’ claimed burden should not be

permitted to overwhelm their discovery obligations, particularly where they have

routinely declined to take Plaintiffs up on their many offers to mitigate that burden.

       A.     Amended Rule 26 and Governing Law

       Federal Rule of Civil Procedure 26(b)(1), as amended in 2015, sets out the general

scope of discovery in a civil case:

              Parties may obtain discovery regarding any nonprivileged
              matter that is relevant to any party's claim or defense and
              proportional to the needs of the case, considering [1] the
              importance of the issues at stake in the action, [2] the amount
              in controversy, [3] the parties' relative access to relevant
              information, [4] the parties' resources, [5] the importance of the
              discovery in resolving the issues, and [6] whether the burden
              or expense of the proposed discovery outweighs its likely
              benefit. Information within this scope of discovery need not be
              admissible in evidence to be discoverable.

Fed. R. Civ. P. 26(b)(1). Relevancy is broadly construed, and the information sought need

not be deemed admissible at trial before being properly subject to discovery. Amador v.

U.S. Bank Nat’l Ass’n, 2-17 U.S. Dist. LEXIS 183459 (D. Minn. Nov. 6, 2017); Sentis

                                              10
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 11 of 29




Group, Inc. v. Shell Oil Co., 763 F.3d 919, 926 (8th Cir. 2014). Once a requesting party

has made a threshold showing that it seeks relevant information, “the burden shifts to the

party resisting discovery to show specific facts demonstrating that the discovery is

irrelevant or disproportional.” Wildman v. Am. Century Servs., LLC, 2017 U.S. Dist.

LEXIS 140666 (W.D. Mo. Jul. 27, 2017).

       “[T]he presumption is that the responding party must bear the expense of complying

with discovery requests.” W. Va. Pipe Traders Health & Welfare Fund v. Medtronic, Inc.,

2017 U.S. Dist. LEXIS 222471 (D. Minn. Oct. 12 2017) (citing Oppenheimer Fund v.

Sanders, 437 U.S. 340 (1978)); Prime Aid Pharm. Corp. v. Express Scripts, Inc., 2017 U.S.

Dist. LEXIS 2061 (E.D. Mo. Jan. 6, 2017) (citations omitted). In some way, “[a]ll

discovery requests are a burden on the party who must respond thereto,” but “[u]nless the

task of producing or answering is unusual, undue or extraordinary, the general rule requires

the [responding party] to bear that burden.” Wildman, 2017 U.S. Dist. LEXIS 140666 at

*8-9 (citing Continental Illinois Nat’l Bank & Trust Co. V Caton, 136 F.R.D. 682 (D.

Kansas May 22, 1991)). (Therefore, a party that resists discovery based on undue burden

must be able to substantiate its objections with specific facts demonstrating this burden.

Id. at *5; See also St. Paul Reinsurance Co., Ltd. v. Commercial Fin. Corp., 198 F.R.D.

508, 511 (N.D. Iowa 2000). For example, a discovery request is not automatically rendered

too burdensome simply because it may duplicate previous discovery efforts. See United

States v. Fed’n of Physicians & Dentists, Inc., 63 F.Supp.2d 475 (D. Del. 1999).

Conclusory allegations, without any evidence regarding the time or expense required to

comply with the request, do not allow a party to evade the discovery of relevant materials.

                                            11
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 12 of 29




CPI Card Grp., Inc. v. Dwyer, 2018 U.S. Dist. LEXIS 171504 (D. Minn. Oct. 4, 2018)

(citing Vallejo v. Amgen, Inc., 903 F.3d 733 (8th Cir. 2018)).

       The Federal Rules set forth additional standards for the discovery of electronically

stored information (“ESI”). Specifically, the Rules state that a party can resist discovery

of ESI if the information is “not reasonably accessible because of undue burden or cost.”

Fed. R. Civ. P. 26(b)(2)(B). Here again, the party from whom the discovery is sought that

bears the burden of showing that the ESI is not reasonably accessible. Id. However, “[t]he

fact that a [party] has an unwieldy record keeping system which requires it to incur heavy

expenditures of time and effort to produce requested documents is an insufficient reason to

prevent disclosure of otherwise discoverable information.” W. Va. Pipe Traders, 2017 U.S.

Dist. LEXIS 222471 at *16-17. Even when information is shown to be not reasonably

accessible, “the court may nevertheless order discovery from such sources if the requesting

party shows good cause, considering the limitations of Rule 26(b)(2)(C).” Fed. R. Civ. P.

26(b)(2)(B).

       Using search terms is a common method of reducing the burdens of ESI discovery,

but the method’s usefulness can be limited by a “sometimes arbitrary choice of language

to describe the topic of interest.” Custom Hardware Eng’g & Construction v. Dowell, 2012

U.S. Dist. LEXIS 146, *7 (E.D. Mo. Jan. 3, 2012) (compelling defendants to run broader

searches that did not require exact matches to precise language). Therefore, the

construction of search terms requires careful thought and cooperation between parties.

Ohio A. Philip Randolph Inst v. Smith, 2018 U.S. Dist. LEXIS 204080, *16 (S.D. Oh. Dec.

3, 2018. Ultimately, “the party selecting the methodology must be able to explain the

                                            12
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 13 of 29




rationale for the method chosen to the court, demonstrate that it is appropriate for the task,

and show that it was properly implemented.” Id. at *16. A search-term based discovery

request need not be so precise that it only captures documents that are relevant to the case.

See Beseke v. Equifax Info Servs., LLC, 2018 U.S. Dist. LEXIS 197920, *13 (D. Minn.

Oct. 18, 2018). Using search terms as a method of discovery will necessarily capture false

hits, but “the possibility of returning false hits does not create a burden… that is undue.”

Beseke, 2018 U.S. Dist. LEXIS at *13.

              B.      Plaintiffs’ Search Terms are Targeted to Identify Relevant
                      Records.

       At the outset, Defendants have not challenged the relevancy of the proposed search

terms. 1 Indeed, there is little doubt that the terms are relevant to the matters at issue in the

case. The case revolves around trips, entertainment, and other forms of remuneration

provided by Defendants to various physicians. These issues go to the heart of the matter.


1
  There is also no dispute that these terms would be responsive to a number of document
requests. (See, e.g., Blumenfield Decl, Ex. A, Request No. 7 (All documents relating to
every instance you purchased, provided, coordinated or arranged for travel, lodging,
entertainment, or meals for an ophthalmologist, including, for each instance, any
communications, pictures, texts, social media posts, notes, receipts, credit card
statements, reimbursement, or cost analysis); Request No. 8 (All documents relating to
every instance you provided, traded, or sold frequent flyer miles, to an ophthalmologist or
to anyone else, including, for each instance, any communications); Request No. 12 (All
documents and communications from 2002 to the present relating to the propriety or
legality, including under the Anti-Kickback Statute, of trips, meals, lodging,
entertainment, frequent flyer miles, or other remuneration paid by Precision Lens, Paul
Ehlen or any other individual or entity for the benefit of ophthalmologists, including all
documents reviewed or prepared by counsel, both outside and in-house, to prepare or
provide legal advice); and Request No. 18 (All documents discussing or analyzing how
much participants in travel or entertainment (including trips taken using frequent flyer
miles and private plane flights) should pay in exchange for that travel or entertainment).

                                               13
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 14 of 29




In many instances, Defendants provided that travel via private flights or by providing

Skymiles to the physicians at discounted rates. Various search terms directly address those

points. Likewise, knowledge of wrongdoing will be a disputed issue in this matter, and a

number of the terms address that issue. The terms also address Defendants’ efforts to carry

out their scheme.

                    1. Category 1: Terms Run Without Modification.

       Plaintiffs’ requested modification of the Court’s February 2013 Order aligns with

Categories identified in by the Court. In Category 1, for search terms to be run without

modification, Plaintiffs request in Blumenfield Decl., Ex. A that the following additional

terms be run without modification:

        Search Term                  Original Hit Count         Modified Hit Count from
                                                                Order
        “Beaver Creek”               70                         9

        “Stock Farm”                 909                        40 (as “stock Farm”)
        “white lake”                 401                        66
        Gunisao                      29                         3
        “The Masters”                1196 (as Masters)          75
        “Big Narrows”                703 (as Narrows)           14
        Niska                        554                        38
        Nueltin                      5                          3
        Steichen                     90                         7
        “Sutton Bay”                 Unknown, 3099 as Sutton,   440 (approx. max) (as
                                     which may overlap with a   Sutton)
                                     relevant last name
        “Frequent flyer”             382                        Unknown, was run in
                                                                conjunction with modifiers,
        Manny’s or Mannys            408 (as Mannys)            Unknown, was run in
                                                                conjunction with modifiers,
        Parasole                     688                        Unknown, was run in
                                                                conjunction with modifiers
        slush                        49                         Unknown, was run in
                                                                conjunction with modifiers


                                            14
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 15 of 29



        Quid                          31                            Unknown      was run in
                                                                    conjunction with modifiers
        Skymiles                      Unknown                       Unknown, was run in
                                                                    conjunction with modifiers


See Blumenfield Decl., Ex. A at p. 1.

       For most of these, the hit count prior to modification was already very manageable

(see underlined results). Plaintiffs propose these be run without modifiers. The remaining

terms with larger hit counts – Stock Farm, The Masters, Big Narrows, Sutton Bay and

Parasole – all relate to trip locations that are central to Plaintiffs’ allegations of kickbacks.

For many of the terms, Plaintiffs do not know the results because Defendants were

unwilling to engage in an iterative analysis. Two examples are instructive. Defendants

took issue with Plaintiffs’ proposed term “Sutton” because it yielded 3,099 hits. But a

review of the materials Defendants ultimately produced reveals that there is a doctor with

the last name “Sutton” that is yielding false positives. Plaintiffs would certainly welcome

removing that term. Similarly, Defendants used the fact that “ski*” yielded a large number

of hits as an example of Plaintiffs’ proposed terms being onerous. When Defendants had

run the terms in connection with the doctors’ last names, they used the term ski or skiing

or skied or skis, and in retrospect the parties should have just used that term in place of

“ski*” But rather than point this out to Plaintiffs or the Court, Defendants brought a

document to the discovery conference (without providing it to Plaintiffs in advance) that

showed an excessive number of hits, and used it as evidence of how onerous Plaintiffs’

proposed terms were. That is far from the cooperative approach that the caselaw requires;

and yet, it appears that Defendants’ tactics have been working.

                                               15
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 16 of 29




       Crafting appropriate search terms requires “careful thought, quality control,

testing, and cooperation with opposing counsel.” L–3 Communications Corp. v. Sparton

Corp., 313 F.R.D. 661, 667 (M.D. Fla. 2015) (citing William A. Gross Constr. Assocs.,

Inc. v. American Manufacturers Mut. Ins. Co., 256 F.R.D. 134, 134 (S.D.N.Y. 2009).

Plaintiffs’ proposed terms are laser focused on the issues in dispute in the case.

Defendants’ complaints about the volume, by contrast, fail to adhere to these

requirements. Defendants chose to simply run the terms as proposed, and when a term

yielded a large number of results for unanticipated reasons, they took issue with the large

number of hits rather than proposing an alternative. They also routinely failed to take

Plaintiffs up on their offers to use sampling to limit search terms with high hit counts.

Seroquel, 244 F.R.D. at 652 (“Common sense dictates that sampling and other quality

assurance techniques must be employed to meet requirements of completeness.”).

       In many instances, the Court responded to Defendants’ purported burden concerns

by ordering that search terms be run with modifiers, whereby a term would only generate

a responsive document if it fell within a certain number of words of a doctor’s name. This

approach, while certainly understandable, will almost certainly miss responsive

documents. Custom Hardware Eng’g & Construction v. Dowell, 2012 U.S. Dist. LEXIS

146, at *7 (discussing search terms’ inherent flaws that they will only return documents

that hit on the precise terms used).

       Indeed, in this case, many relevant documents regarding trips and other

remuneration do not reference a doctor within 25 words of the key term, or at all. Some

                                             16
     CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 17 of 29




examples of documents produced by Precision Lens that do not reference a doctor within

25 of a key term or at all, but are very relevant to establishing the knowing offer of

remuneration, can be found at Blumenfield Dec., Ex. O (PL0209777-209780; PL0219510;

PL0223160). Further, the third party productions contain examples of documents that

were not produced by Precision Lens, showing that the doctor modifiers appear to be

inappropriately weeding out relevant documents. Blumenfield Dec., Ex. P (MEC-

00000028; MEC-00000291; MEC00000351; MEC-00000573; MEC-LIN-00001754-

1777; WEIR006129-6130). The end result of the process to date is that Defendants have

evaded their cooperation obligations while Plaintiffs will miss out on responsive

documents.

                  2. Category 2: Terms Run With Modifications.

      In Blumenfield Decl., Ex. A, Plaintiffs also request that the modifier for certain

searches in Category 2 be changed to reflect the company vernacular. Specifically, the

documents reflect that the use of a doctor’s last name, or “Dr. or doc*, does not capture

common references to doctors. Based on counsel’s review of records, Plaintiffs propose

that the following search terms (identified at 2.n. of the Court’s Order) be modified as

follows:

      hotel or lodg* or golf or tournament or invoice or reward or Vikings or twins or
      wild or tickets or football or baseball and (doctor or doctors or physician or
      physicians or ophthalmologist or ophthalmologists or customer or customers or MD
      or M.D. or Dr. or Drs. or Dr or Drs or Jit or ricky or hunk or (first name) or (last
      name) or (clinic name))

See Blumenfield Decl., Ex. A at p. 2. Examples of doctor references that reflect the

additional modifiers proposed above are attached at See Blumenfield Decl., Ex. O

                                           17
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 18 of 29




(PL0046407-46410; PL0203598-203599; PL0203660-662; PL0203668-670; PL0203674;

PL0203727; PL0203730-203731; PL0209777-209778; PL0222642).

       In addition, Plaintiffs request that the searches relating to frequent flyer miles or

skymiles be run differently. In the e-discovery Order, the Court directed that “frequent

flyer” or Skymiles or miles be run against doctor names or dr. or doc* as part of search 1.n.

Because these miles were a consistent way Defendants are alleged to have offered

kickbacks to physicians, Plaintiffs propose that these terms be more closely scrutinized.

For example, “frequent flyer” only brought back 382 results originally, but no hits when

modified, and Plaintiffs ask that those results be reviewed without further modification. In

addition, Plaintiffs also propose that Skymiles, which refers to the Delta points program

that Defendants most frequently used in connection with trips, be run without further

modification. However, Plaintiffs propose that the word “points” be added to category 2

because a review of Defendants’ documents reflects that this term is frequently used to

mean frequent flyer miles (see, e.g., Blumentfield Dec., Ex. O and P (PL0055316-55317;

PL0055448;        PL0097989-97991;          PL0169902-169903;            PL0203848-203849;

MEC00000018-19; MEC00000022-25; MEC00000351). As such, Plaintiffs propose the

following string be added to Category 2:

          • Points and (fly or flight or flights or ticket or tickets)

See Blumenfield Decl., Ex. A at p. 2.

       In this Category, Plaintiffs also request that the Court specify the following list of

clinic name references to be used for the following search:



                                             18
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 19 of 29




       (“Convert*” or conversion) w/10 (Dr. or doc* or (last name) or (clinic name)).

Plaintiffs compiled this list of clinic names by reviewing how Defendants typically refer to

clinics in their internal communications (e.g., “Hutch” instead of the Regional Eye Center

in Hutchinson, MN). See Blumentfield Dec., Ex. O (PL0000157; PL0002464; PL0020254-

20255. See also PL0205054-205055 (using “converted” to signify achieving sales from a

practice); PL0209178-209179 (same with regard to “conversion”). Defendants did not

want to confer about this list, instead insisting on hypertechnical use of each clinic’s formal

name. This is inconsistent with basic search term protocol. L–3 Communications Corp. v.

Sparton Corp., 313 F.R.D. 661, 667 (M.D. Fla. 2015) (effective search terms must take

into account relevant words and abbreviations used by the ESI custodians).

       Consistent with e-discovery principles, Plaintiffs have asserted that using search

terms divorced from the company’s internal vernacular is ineffective. Plaintiffs instead

propose the following:

          •   Cabinet
          •   HealthCenter
          •   Trinity or Minot
          •   Southwest or Oklahoma or OKC
          •   Tulsa
          •   “Regional Eye” or Hutch or Hutchinson
          •   VTV or Sanford
          •   “Minnesota Eye” or MEC
          •   (Ophthalmology w/2 Ltd or Limited) or “Sioux Falls”
          •   Wisconsin or “EC Laser” or Wausau
          •   Liberty
          •   Phillips or PEI
          •   Bay or Carolina
          •   Florence or Carolina
          •   Wabash
          •   “North Dakota Surgery Center”

                                              19
     CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 20 of 29




          •   “Kansas City” or KC
          •   Bismarck
          •   Northwoods
          •   “Stevens Point”
          •   “Same Day”
          •   Albemarle

See Blumenfield Decl., Ex. A at pp. 2-3.

                  3. Category 3: Terms That Do Not Need to Be Searched
                     At This Time.

      Plaintiffs do not contest the Court’s Order for the following terms:

          •   Boat,
          •   Fly-in,
          •   Hangar 374
          •   Premier Jet
          •   3242Z
          •   Baron or Bravo
          •   Excess*
          •   “kristina bowar”
          •   Bluesox19@aol.com
          •   Flight
          •   Ski

                  4. Terms Not Addressed by the Court’s Order.

      The Court’s Order did not address several terms originally proposed by Plaintiffs.

Those terms are set forth below:


       Search Term                   Original Hit Count
       Fraud*                        4326
       Helicopter OR copter          1357
       Hotline                       2469
       Incentive*                    2157
       Induc*                        3919
       Valuat*                       1393
       Wine*                         3094

                                           20
CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 21 of 29




 Quid                          31

Plaintiffs propose the following treatment of these terms:

 Search         Original      Proposal
 Term           Hit Count
 Fraud*         4326          Run in Category 2 with the following modifiers:
                              fraud* and (doctor or doctors or physician or
                              physicians or ophthalmologist or ophthalmologists
                              or customer or customers or MD or M.D. or Dr. or
                              Drs. or Dr or Drs or Jit or ricky or hunk or ((first
                              name) or (last name) or (clinic name))
 Helicopter     1357          Run in Category 2 with the following modifiers:
 OR copter                    Helicopter or copter and (doctor or doctors or
                              physician or physicians or ophthalmologist or
                              ophthalmologists or customer or customers or MD
                              or M.D. or Dr. or Drs. or Dr or Drs or Jit or ricky
                              or hunk or ((first name) or (last name) or (clinic
                              name))
 Hotline        2469          Do Not Run -- Category 3
 Incentive*     2157          Run in Category 2 with the following modifiers:
                              incentiv* and (doctor or doctors or physician or
                              physicians or ophthalmologist or ophthalmologists
                              or customer or customers or MD or M.D. or Dr. or
                              Drs. or Dr or Drs or Jit or ricky or hunk or ((first
                              name) or (last name) or (clinic name))

 Induc*         3919          Run in Category 2 with the following modifiers:
                              induc* and (doctor or doctors or physician or
                              physicians or ophthalmologist or ophthalmologists
                              or customer or customers or MD or M.D. or Dr. or
                              Drs. or Dr or Drs or Jit or ricky or hunk or ((first
                              name) or (last name) or (clinic name))




                                     21
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 22 of 29




        Valuat*        1393          Run in Category 2 with the following modifiers:
                                     Valu* and (doctor or doctors or physician or
                                     physicians or ophthalmologist or ophthalmologists
                                     or customer or customers or MD or M.D. or Dr. or
                                     Drs. or Dr or Drs or Jit or ricky or hunk or ((first
                                     name) or (last name) or (clinic name))

        Wine*          3094          Do Not Run -- Category 3



See Blumenfield Decl., Ex. A at pp. 3-4.

          B. Defendants’ Burden Arguments Lack Merit.

       Rather than challenge relevancy, Defendants complain about the cost associated

with reviewing the documents and indicate that the documents would be duplicative of

those already produced. But a discovery request is not automatically rendered unduly

burdensome simply because it might duplicate previous discovery efforts. See Fed’n of

Physicians & Dentists, Inc., 63 F.Supp.2d 475 (granting the Government’s motion to

compel when defendants could not demonstrate how information that was previously

supplied through a Civil Investigative Demand rendered the current discovery request

duplicative). Another court recently rejected as unsubstantiated a similar argument that

additional discovery would be duplicative and add nothing to address the issue at hand,

reasoning that: “Absent production of the relevant documents, there is no way for the Court

or Defendants to know the significance or lack of significance of the documents.” Cargill

Meat Sols. Corp. v. Premium Beef Feeders, LLC, 13-CV-1168-EFM-TJJ, 2015 WL

3937410, at *4 (D. Kan. June 26, 2015). Certainly, updating searches from 2015 onward

is unlikely to produce any duplicative records.


                                            22
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 23 of 29




       With respect to the cost issues, Defendants should not be heard to complain,

considering that they have refused to avail themselves of numerous efforts by Plaintiffs to

mitigate any burden associated with the search terms. When a party fails to appropriately

meet and confer, and instead unilaterally adopts a position on discovery, it cannot then

claim that the costs resulting from additional discovery which may be required creates an

undue burden. ProCom Heating, Inc. v. GHP Grp., Inc., 2016 U.S. Dist. LEXIS 193650

(W.D. Ky. Jul. 7, 2016) (“Because GHP should have resolved these issues before

undertaking its unilateral search, the issue is not what additional expense it might incur.”).

       Plaintiffs have proposed many compromises in an attempt to reduce the review

burden. Defendants, however, have rejected every one of these options and instead have

unilaterally adopted an under-inclusive approach. Defendants’ unwillingness to cooperate

with Plaintiffs to arrive at a reasonable set of search terms is inconsistent with good

discovery practice. As one court observed:

              [W]while key word searching is a recognized method to
              winnow relevant documents from large repositories, use of this
              technique must be a cooperative and informed process. Rather
              than working with Plaintiffs from the outset to reach agreement
              on appropriate and comprehensive search terms and methods,
              [Defendant] undertook the task in secret.

In re Seroquel Prod. Liab. Litig., 244 F.R.D. 650, 662 (M.D. Fla. 2007). “Selection of

search terms requires careful advance planning by persons qualified to design effective

search methodology,” so ultimately “the process of crafting keywords must be a

cooperative one.” L–3 Communications Corp. v. Sparton Corp., 313 F.R.D. 661, 667

(M.D. Fla. 2015).


                                              23
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 24 of 29




       Rather than engage in the collaborative process called for by these cases, Defendants

have simply informed Plaintiffs that they believe that Plaintiffs search terms are over-

inclusive, and made the unilateral decision to make productions without meaningful meet

and confer over the effectiveness of the terms and modifiers used. In the production

Defendants made prior to the Court’s Order, Defendants unilaterally proposed its own

terms against physicians’ last names, and declined to run any of the previously agreed upon

terms for the new custodians. In response to the Court’s Order, Defendants rigidly ran

those terms and then rejected any meet-and confer over even perverse results. For example,

the term “convert” is a critical term, as it is often used by Defendants to discuss sales targets

and successful sales operations. Defendants asked Plaintiffs for a list of clinic names that

they proposed to be run in conjunction with that term, as the Court ordered. Plaintiffs

provided a list that took into account the various abbreviations and shortcuts of which they

were aware. Defendants rejected that list and insisted on only running the actual official

name, even though for all but three of the clinics this narrow focus led to no responsive

documents. Cf L–3, 313 F.R.D. at 667 (mandating a cooperative approach); Gross 256

F.R.D. at 136 (mandating the consideration of abbreviations and the actual words used by

the key custodians).

       Gunisao, one of the trip locations, provides another good example of this. It had

only 29 hits originally and was narrowed by the Court’s Order to 3 hits – Defendants

rejected Plaintiffs’ suggestion that the original 29 documents simply be reviewed. This is

a far cry from the cooperative posture that is called for in this context, and it is difficult to


                                               24
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 25 of 29




countenance the idea that 29 hits for an important trip location would have been unduly

burdensome.

       That Defendants have been so unwilling to meet and confer on these key issues is

typical of the unilateral position they have consistently taken during this entire discovery

process. Plaintiffs therefore request that the Defendants be ordered to run the search terms

in Blumenfield Decl., Ex. A for all custodians, and that the parties be ordered to meet and

confer over any hit results in Category 2 with more than 500 hits for a particular custodian.

           C. Defendants Cannot Establish that their Burden of Production
              Disproportionately Outweighs the Needs of Plaintiffs’ FCA Case.

       Consistent with the law surrounding kickback cases, a kickback submitted taints all

affected claims for a period of time thereafter. United States v. Rogan, 517 F.3d 449, 453

(7th Cir. 2008) (In an FCA case predicated on an AKS violation, the proper measure of

damages is the full amount of each tainted claim). See also, e.g., U.S. ex rel. Freedman v.

Suarez-Hojos, No. 8:04-cv-933-T-24 EAJ, 2012 WL 4344199, at *4 (M.D. Fla. Sept. 21,

2012) (“[T]he amount of the Government's damages resulting from the payment of false

claims tainted by a kickback arrangement equals the full amount that Medicare paid on

such claims.”). In light of the number of physicians at issue in this case and the time period

at issue, if Plaintiffs fully prevail at trial, damages would run well into the tens of millions

of dollars. Precision Lens’ former corporate partner, Sightpath, settled similar allegations

in this matter for $12 million, and a single named physician settled related allegations for

almost $3 million. The amount at stake in a potential trial in this matter is considerable.




                                              25
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 26 of 29




       Defendants have not properly addressed their arguments against this backdrop.

Rather, they have focused their argument only on their potential burden, an approach

criticized in a recent opinion:

              Although Plaintiff articulates the issue as one of
              proportionality, the only factor Plaintiff mentions is the cost of
              the discovery. Plaintiff does not set forth what the relative cost
              of production would be as compared to the amount in
              controversy. The Court notes that both parties seek
              damages/setoff in excess of $2,000,000. Plaintiff's
              unsupported estimate of $4,000 to $5,000 per custodian in
              discovery costs does not lead the Court to find that ordering the
              requested discovery violates proportionality, particularly given
              the history, scope, and nature of this case.
Cargill, 2015 U.S. Dist LEXIS 83137 at *12. As Magistrate Judge Thorson remarked in

another case recently in rejecting the Defendant’s concerns regarding undue burden, “given

the issues in this case, it is not surprising that nearly 100,000 documents could be

discoverable.” Murphy v. Piper, Docket #102, 2017 U.S. Dist. LEXIS 205750 (D. Minn.

Dec. 14, 2017).

       The “importance of the issues at stake in the action” consideration set forth in Rule

26 also militates in favor of utilizing the search terms requested in Plaintiffs’ Attachments

A, many of which relate specifically to the trips and other remunerations. The Anti-

Kickback Statute and the False Claims Act are also of critical importance to the United

States, and the alleged violations in this matter are serious. United States ex. Rel. Lutz v.

BlueWave Health Consultants, Inc. et. al., 2018 U.S. Dist. LEXIS 119203, *7 (D.S.C. May

23, 2018)((“AKS violations are not technical violations of unnecessarily strict regulatory




                                             26
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 27 of 29




requirements… Claims that were induced by violations of the Anti-Kickback Statute are

serious, so serious that the Government often punishes them criminally.”)

       Finally, Plaintiffs address Defendants’ argument that this case has been pending for

several years and that the government obtained documents during the investigative phase.

The focus of the investigative phase is to determine whether the United States has a

sufficient basis for intervention. The government takes that decision quite seriously, but it

in no way treats the investigatory phase of the case as a substitute for discovery. The search

terms used for those purposes were much narrower, as was the time frame of production.

At that stage, the Government properly assumes that it will have the opportunity to build

its case in discovery just as any other litigant would have the right to do. Thus, the fact that

the Government obtained information in a previous investigation does not preclude it from

seeking additional information through the formal discovery process. See United States v.

Fed’n of Physicians & Dentists, Inc., 63 F.Supp.2d 475 (D. Del. 1999) (granting the

Government’s motion to compel when defendants could not demonstrate how information

that was previously supplied through a Civil Investigative Demand rendered the current

discovery request duplicative); see also Donovan v. Lynn’s Food Stores, Inc., 1981 U.S.

Dist. LEXIS 17619 (S.D. Ga. Dec. 12, 1981) (finding the Government’s prior investigation

did not render subsequent discovery requests duplicative). Defendants’ ongoing arguments

that the government should have to rely on the information gathered prior to filing its case

conflate the purposes of the FCA and the discovery process, and is inconsistent with the

plain language of, and the spirit behind, the Federal Rules.



                                              27
      CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 28 of 29




         Likewise, Defendants’ suggestions that Plaintiffs should have to tell them what they

believe is missing from the earlier productions is inconsistent with the way in which

discovery works. So are their requests that Plaintiffs look at the prior documents and tell

them what terms they believe generated the best results, despite not having access to the

information Defendants have. Discovery is inherently asymmetrical; the producing party

has access to its information in ways that the receiving party simply does not. To place the

burden on Plaintiffs at this stage to tell Defendants what else they believe might exist in

Defendants’ materials is simply illogical.

   IV.       CONCLUSION

         For the reasons stated above, Plaintiffs respectfully request that this Court order

Defendants to: (1) run the search terms as provided by Plaintiffs in Blumenfield Decl., Ex.

A to this Motion; and (2) engage with Plaintiffs in good faith to limit the total number of

responsive documents for terms that yield more than 500 documents for a particular

custodian.



 Dated: April 2, 2019                              Respectfully submitted,

                                                   ERICA H. MacDONALD
                                                   United States Attorney

                                                   s/ Chad A. Blumenfield

                                                   BY: CHAD A. BLUMENFIELD
                                                   Assistant U.S. Attorney
                                                   Attorney I.D. No. 387296
                                                   BY: BAHRAM SAMIE
                                                   Assistant U.S. Attorney
                                                   Attorney ID Number 392645

                                              28
CASE 0:13-cv-03003-WMW-DTS Doc. 220 Filed 04/02/19 Page 29 of 29




                                   600 U.S. Courthouse
                                   300 South Fourth Street
                                   Minneapolis, MN 55415
                                   (612) 664-5600


                                   Attorneys for Plaintiff United States


                                     s/ Jennifer M. Verkamp
                                   Jennifer M. Verkamp, Esq.
                                   (admitted pro hac vice; OH 0067198)
                                   Frederick M. Morgan, Esq.
                                   (admitted pro hac vice; OH 0027687)
                                   Sonya A. Rao
                                   (admitted pro hac vice; MA 647170)
                                   Chandra Napora
                                   (admitted pro hac vice; OH 0092886)
                                   Morgan Verkamp LLC
                                   35 East 7th Street, Suite 600
                                   Cincinnati, OH 45202
                                   Telephone: (513) 651-4400

                                   Susan M. Coler, Esq. (MN 0217621)
                                   Halunen Law
                                   80 South 8th Street, Suite 1650
                                   IDS Center
                                   Minneapolis, MN 55402
                                   Telephone: (612) 260-5383

                                   Attorneys for Relator




                              29
